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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                CAMDEN VICINAGE


   AARON SIEGEL, JASON COOK,       Hon. Renée Marie Bumb, U.S.D.J.
   JOSEPH DELUCA, NICOLE CUOZZO,   Hon. Ann Marie Donio, U.S.M.J.
   TIMOTHY VARGA, CHRISTOPHER
   STAMOS, KIM HENRY, AND          Docket No. 22-CV-7463
   ASSOCIATION OF NEW JERSEY RIFLE
   AND PISTOL CLUBS, INC.,

        Plaintiffs,

   v.

   MATTHEW J. PLATKIN, in his official
   capacity as Attorney General of the State of
   New Jersey; and PATRICK CALLAHAN,
   in his official capacity as Superintendent of
   the New Jersey State Police,

        Defendants.



   RONALD KOONS; NICHOLAS                          Hon. Reéne Marie Bumb, U.S.D.J.
   GAUDIO; JEFFREY M. MULLER; GIL                  Hon. Elizabeth A. Pascal, U.S.M.J.
   TAL; SECOND AMENDMENT
   FOUNDATION; FIREARMS POLICY                     Docket No. 22-CV-7464
   COALITION, INC.; COALITION OF
   NEW JERSEY FIREARM OWNERS; and
   NEW JERSEY SECOND AMENDMENT
   SOCIETY,
   Plaintiffs,
   v.
   MATTHEW J. PLATKIN, in his official
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   capacity as Attorney General of the State of
   New Jersey; and PATRICK CALLAHAN,
   in his official capacity as Superintendent of
   the New Jersey State Police,
   Defendants.



                           CERTIFICATE OF SERVICE

        I hereby certify that on February 10, 2023, I electronically filed a Notice of

  Motion to File an Overlength Brief, a Declaration In Support, a Proposed Form of

  Order, and this Certificate of Service with the Clerk of the United States District

  Court for the District of New Jersey in the above-captioned dockets. I further certify

  that counsel of record will receive a copy of these documents via CM/ECF.

        I declare under penalty of perjury that the foregoing is true and correct

                                         /s/ Angela Cai
                                         Angela Cai
                                         Deputy Solicitor General

  Dated: February 10, 2023




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